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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Carl Klein, et al.
                                    Plaintiff,
v.                                                      Case No.: 1:17−cv−06194
                                                        Honorable Joan H. Lefkow
Credit Corp Solutions, Inc.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 12, 2018:


        MINUTE entry before the Honorable Joan H. Lefkow: Motion hearing held. Fact
discovery extended to 9/26/2018. No further extensions will be allowed. Motion for
protective order [32] is termed as moot. Motion to compel 30(b)(6) [34] and motion for
sanctions [37] are continued to 10/3/2018 at 9:30 a.m. Mailed notice (ags, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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